            Case 24-40605                   Doc 120          Filed 05/22/24 Entered 05/22/24 18:20:09                  Desc Main
Fill in this information to identify the case:
                                                             Document      Page 1 of 33

Debtor Name Remarkable Healthcare of Seguin, LP


                                         Eastern District of Texas
United States Bankruptcy Court for the

               24-40605                                                                                                 Check if this is an
                                                                                                                          amended filing
Case number:




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                               12/17

Month:                April                2024                                                   Date report filed:    _05/21/2024__________
                                                                                                                        MM / DD / YYYY

Line of business: NursingHome_                                                                    NAISC code:           6231
                                                                                                                        ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                             __Jon McPike________

Original signature of responsible party        ____________________________________________

Printed name of responsible party              __Jon McPike__________________________________________


               1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                             Yes     No        N/A
         If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                        
                                                                                                                             ✔                
    2.   Do you plan to continue to operate the business next month?                                                         
                                                                                                                             ✔                
    3.   Have you paid all of your bills on time?                                                                                   
                                                                                                                                     ✔         
    4.   Did you pay your employees on time?                                                                                 
                                                                                                                             ✔                
    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                     
                                                                                                                             ✔                
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                  
                                                                                                                             ✔                
    7.   Have you timely filed all other required government filings?                                                        
                                                                                                                             ✔                
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                     
                                                                                                                             ✔                
    9.   Have you timely paid all of your insurance premiums?                                                                
                                                                                                                             ✔                
         If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                             
                                                                                                                                     ✔         
    11. Have you sold any assets other than inventory?                                                                              
                                                                                                                                     ✔         
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                       
                                                                                                                                     ✔         
    13. Did any insurance company cancel your policy?                                                                               
                                                                                                                                     ✔         
    14. Did you have any unusual or significant unanticipated expenses?                                                             
                                                                                                                                     ✔         
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                                  
                                                                                                                                               ✔

    16. Has anyone made an investment in your business?                                                                             
                                                                                                                                     ✔         
Official Form 425C                             Monthly Operating Report for Small Business Under Chapter 11                      page 1
              Case 24-40605         Doc 120        Filed 05/22/24 Entered 05/22/24 18:20:09                         Desc Main
                                                   Document      Page 2 of 33
Debtor Name   Remarkable    Healthcare of Seguin, LP
              _______________________________________________________                             24-40605
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                            
                                                                                                                                  ✔      
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                              
                                                                                                                                  ✔      


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                               59,230.00
                                                                                                                            $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                            357,279.00
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                          300,189.00
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                              57,090.00
                                                                                                                         + $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                             116,320.00
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              = $ __________
        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                         41,005.00
                                                                                                                            $ ____________

               (Exhibit E)




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                           page 2
              Case 24-40605          Doc 120        Filed 05/22/24 Entered 05/22/24 18:20:09                           Desc Main
                                                    Document      Page 3 of 33
Debtor Name   Remarkable    Healthcare of Seguin, LP
              _______________________________________________________                                24-40605
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                         1,635,461.00
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?
                                                                                                                                         135
                                                                                                                                 ____________

    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                         126
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                    1,000.00
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                      11,750.00
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                               5,000.00
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                              5,000.00
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                        $ ____________           –     357,279.00
                                                                     $ ____________
                                                                                               =   $ ____________
    32. Cash receipts
                                                                       300,189.00              =
    33. Cash disbursements              $ ____________           –   $ ____________                $ ____________

                                                                 –      57,090.00              =
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                         401,603.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                  390,421.00

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                    11,182.00




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                             page 3
              Case 24-40605          Doc 120         Filed 05/22/24 Entered 05/22/24 18:20:09                    Desc Main
                                                     Document      Page 4 of 33
Debtor Name   Remarkable    Healthcare of Seguin, LP
              _______________________________________________________                            24-40605
                                                                                     Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    
    ✔ 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

     39. Bank reconciliation reports for each account.
    ✔ 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.
    

     41. Budget, projection, or forecast reports.

     42. Project, job costing, or work-in-progress reports.




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                         page 4


         Print                     Save As...                                                                               Reset
               Case 24-40605       Doc   120Bank
                                    Regions      Filed 05/22/24 Entered 05/22/24 18:20:09                               Desc Main
                                    Preston Center
                                                   Document
                                    5858 W. Northwest Highway  Page 5 of 33
                                    Dallas, TX 75225




               REMARKABLE HEALTHCARE OF SEGUIN LP
               DEBTOR IN POSSESSION CASE 23-42101
               COMMERCIAL RECEIVABLES ACCOUNT
               PAYROLL ACCOUNT
               904 EMERALD BLVD                                                                            ACCOUNT #         4869
               SOUTHLAKE TX 76092-6203
                                                                                                                                         001
                                                                                                                    Cycle                 26
                                                                                                               Enclosures                   0
                                                                                                                    Page               1 of 3

                                                             DACA PASSIVE
                                                  March 30, 2024 through April 30, 2024



                                                                  SUMMARY
Beginning Balance                             $5,767.19                   Minimum Balance                                           $371 -
Deposits & Credits                          $105,786.57       +
Withdrawals                                 $103,831.79       -
Fees                                            $871.97       -
Automatic Transfers                               $0.00       +
Checks                                            $0.00       -
Ending Balance                                $6,850.00



                                                       DEPOSITS & CREDITS
       04/01      Central Payment Pmt Proc Remarkable Hea 84870022149088                                                       1,836.00
       04/03      Central Payment Pmt Proc Remarkable Hea 84870022149088                                                       7,725.04
       04/04      Central Payment Pmt Proc Remarkable Hea 84870022149088                                                      21,257.90
       04/05      Central Payment Pmt Proc Remarkable Hea 84870022149088                                                       2,205.00
       04/05      Hnb - Echo    Hcclaimpmt Remarkable Hea 273014566                                                           13,154.24
       04/08      Central Payment Pmt Proc Remarkable Hea 84870022149088                                                         200.00
       04/10      EB From Checking # 7297 Ref# 000000 8647332                                                                    500.00
       04/12      Central Payment Pmt Proc Remarkable Hea 84870022149088                                                       1,383.00
       04/15      Central Payment Pmt Proc Remarkable Hea 84870022149088                                                       3,054.75
       04/16      Centene Corp Hcclaimpmt Remarkable Hea                                                                      27,141.69
       04/16      Central Payment Pmt Proc Remarkable Hea 84870022149088                                                       9,734.64
       04/18      Hnb - Echo    Hcclaimpmt Remarkable Hea 273014566                                                              160.11
       04/18      Central Payment Pmt Proc Remarkable Hea 84870022149088                                                       8,002.00
       04/19      Central Payment Pmt Proc Remarkable Hea 84870022149088                                                       3,082.20
       04/22      Central Payment Pmt Proc Remarkable Hea 84870022149088                                                          50.00
       04/24      Aetna As01    Hcclaimpmt Remarkable Hea Xxxxx4566                                                            6,300.00

                                                                                             Total Deposits & Credits       $105,786.57


                                                            WITHDRAWALS
       04/03      EB to Checking # 6196 Ref# 000000 8647304                                                                   14,828.23
       04/04      EB to Checking # 6196 Ref# 000000 8647315                                                                   21,257.90
       04/05      EB to Checking # 6196 Ref# 000000 8647317                                                                   15,359.24
       04/08      EB to Checking # 6196 Ref# 000000 8647325                                                                      200.00
       04/18      EB to Checking # 6196 Ref# 000000 8647344                                                                   49,104.22




                                                Thank You For Banking With Regions!
                                        2024 Regions Bank Member FDIC. All loans subject to credit approval.
        Case 24-40605       Doc   120Bank
                             Regions      Filed 05/22/24 Entered 05/22/24 18:20:09             Desc Main
                             Preston Center
                                            Document
                             5858 W. Northwest Highway  Page 6 of 33
                             Dallas, TX 75225




REMARKABLE HEALTHCARE OF SEGUIN LP
DEBTOR IN POSSESSION CASE 23-42101
COMMERCIAL RECEIVABLES ACCOUNT
                                                                               ACCOUNT #            4869
PAYROLL ACCOUNT
904 EMERALD BLVD                                                                                              001
SOUTHLAKE TX 76092-6203                                                                   Cycle                26
                                                                                     Enclosures                  0
                                                                                          Page              2 of 3

                                        WITHDRAWALS (CONTINUED)
04/19     EB to Checking # 7297 Ref# 000000 8647345                                                   3,082.20

                                                                           Total Withdrawals       $103,831.79


                                                      FEES
04/09     Analysis Charge      03-24                                                                   871.97


                                          DAILY BALANCE SUMMARY
Date                   Balance              Date              Balance            Date                 Balance
04/01                  7,603.19             04/09               371.97 -         04/18                  500.00
04/03                    500.00             04/10               128.03           04/19                  500.00
04/04                    500.00             04/12             1,511.03           04/22                  550.00
04/05                    500.00             04/15             4,565.78           04/24                6,850.00
04/08                    500.00             04/16            41,442.11



                             You may request account disclosures containing
                              terms, fees, and rate information (if applicable)
                            for your account by contacting any Regions office.
                   Case 24-40605             Doc 120          Filed 05/22/24 Entered 05/22/24 18:20:09                                Desc MainPage 3 of 3
                                                              Document      Page 7 of 33


          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


The law requires you to use "reasonable care and promptness" in examining your bank statement and any checks sent with it and to report to the Bank an
unauthorized signature (i.e., a forgery), any alteration of a check, or any unauthorized endorsement. You must report any forged signatures, alterations or forged
endorsements to the Bank within the time periods specified under the Deposit Agreement. If you do not do this, the Bank will not be liable to you for the losses or
claims arising from the forged signatures, forged endorsements or alterations. Please see the Deposit Agreement for further explanation of your responsibilities
with regard to your statement and checks. A copy of our current Deposit Agreement may be requested at any of our branch locations.

                                                           Summary of Our Error Resolution Procedures
                                                   In Case of Errors or Questions About Your Electronic Transfers
                                                              Telephone us toll-free at 1-800-734-4667
                                                                            or write us at
                                                            Regions Electronic Funds Transfer Services
                                                                         Post Office Box 413
                                                                    Birmingham, Alabama 35201

Please contact Regions as soon as you can, if you think your statement is wrong or if you need more information about a transfer listed on your statement. We
must hear from you no later than sixty (60) days after we sent the FIRST statement on which the problem or error appeared.
      (1) Tell us your name and account number.
      (2) Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe it is an error or why you need more information.
      (3) Tell us the dollar amount of the suspected error.
If you tell us verbally, we may require that you send us your complaint or question in writing within ten (10) business days.

We will determine whether an error occurred within ten (10) business days after we hear from you and will correct any error promptly. If we need more time,
however, we may take up to forty-five (45) days to investigate your complaint or question (ninety (90) days for POS transactions or for transfers initiated outside of
the United States). If we decide to do this, we will credit your account within ten (10) business days for the amount you think is in error. If, after the investigation,
we determine that no bank error occurred, we will debit your account to the extent previously credited. If we ask you to put your complaint in writing and we do not
receive it within ten (10) business days, we may not credit your account.

New Accounts- If an alleged error occurred within thirty (30) days after your first deposit to your account was made, we may have up to ninety (90) days to
investigate your complaint, provided we credit your account within twenty (20) business days for the amount you think is in error.
If we decide there was no error, we will send you a written explanation within three (3) business days after we finish our investigation. You may ask for copies of
the documents that we used in our investigation.
FOR QUESTIONS CONCERNING THIS STATEMENT OR FOR VERIFICATION OF A PREAUTHORIZED DEPOSIT, PLEASE CALL 1-800-REGIONS
(734-4667) OR VISIT YOUR NEAREST REGIONS LOCATION.

ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
You can make a deposit at the branch during business hours or at a Regions Deposit-Smart ATM, and you can also make a transfer or deposit through Regions
Online Banking or Mobile Banking. To make a deposit to an overdrawn account 24 hours a day, please visit https://selfservice.regions.com.
Case 24-40605   Doc 120   Filed 05/22/24 Entered 05/22/24 18:20:09   Desc Main
                          Document      Page 8 of 33
               Case 24-40605      Doc   120Bank
                                   Regions       Filed 05/22/24 Entered 05/22/24 18:20:09                                Desc Main
                                   Keller
                                                  Document
                                   521 Keller Parkway          Page 9 of 33
                                   Keller, TX 76248




               REMARKABLE HEALTHCARE OF SEGUIN LP
               DISBURSEMENT
               DEBTOR IN POSSESSION CASE 23-42101
               904 EMERALD BLVD
               SOUTHLAKE TX 76092-6203                                                                    ACCOUNT #           6196
                                                                                                                                         001
                                                                                                                      Cycle               25
                                                                                                                 Enclosures                 0
                                                                                                                      Page             1 of 4

                                                            DACA PASSIVE
                                                 March 30, 2024 through April 30, 2024



                                                                 SUMMARY
Beginning Balance                           $50,752.05                   Minimum Balance                                          $1,400
Deposits & Credits                         $198,297.37       +
Withdrawals                                $206,764.47       -
Fees                                           $469.92       -
Automatic Transfers                              $0.00       +
Checks                                           $0.00       -
Ending Balance                              $41,815.03



                                                      DEPOSITS & CREDITS
       04/01      Card Credit Amzn Mktp US 5942 Amzn.Com/Bill WA 98109                  0006                                        58.81
       04/02      Regions Bank Acct Trans 5142          Jmcpike                                                                 10,200.00
       04/03      Regions Bank Acct Trans5142           Jmcpike                                                                 27,627.32
       04/03      EB From Checking # 4869 Ref# 000000 8647304                                                                   14,828.23
       04/04      EB From Checking # 4869 Ref# 000000 8647315                                                                   21,257.90
       04/05      EB From Checking # 4869 Ref# 000000 8647317                                                                   15,359.24
       04/08      EB From Checking # 7297 Ref# 000000 8647323                                                                   40,556.38
       04/08      EB From Checking # 4869 Ref# 000000 8647325                                                                      200.00
       04/11      EB From Checking # 7297 Ref# 000000 8647338                                                                   19,105.27
       04/18      EB From Checking # 869 Ref# 000000 8647344                                                                    49,104.22

                                                                                            Total Deposits & Credits          $198,297.37


                                                           WITHDRAWALS
       04/01      Card Purchase Paypal *Glenswa 5651 4029357733 CA 95131 0006                                                       74.29
       04/01      Card Purchase Amzn Mktp Us*qd 5942 Amzn.Com/Bill WA 98109 0006                                                   313.93
       04/01      Card Purchase Sunoco 80022147 5542 Roanoke      TX 76262 0006                                                     42.03
       04/01      Recurring Card Transaction Adobe *Adobe 5734 408-536-6000 CA 95110                      0006                      16.22
       04/02      Card Purchase Exxon Kyle S Kw 5542 Canton     TX 75103 0006                                                       42.30
       04/02      Recurring Card Transaction Adobe *Adobe 5734 408-536-6000 CA 95110                      0006                      21.64
       04/02      Central Payment Dl Fee Sep Remarkable Hea 84870022149088                                                       2,390.51
       04/02      T4housing-Opact_ Web Pmts Lauriemcpike 3zbd1g                                                                  3,132.95
       04/02      Health Care Serv Obppaymt Remarkable Hea 0839506957                                                           14,815.19
       04/03      Regions Bank Acct Trans 5142           Nandashipp                                                             25,098.91
       04/03      Recurring Card Transaction Adobe *Adobe 5734 408-536-6000 CA 95110                      0006                      14.06
       04/03      Card Purchase Sq *Unified Sec 1520 Gosq.Com    TX 78232 0132                                                     303.05
       04/04      Regions Bank Acct Trans 5142           Nandashipp                                                             72,641.03




                                               Thank You For Banking With Regions!
                                       2024 Regions Bank Member FDIC. All loans subject to credit approval.
        Case 24-40605     Doc   120Bank
                           Regions       Filed 05/22/24 Entered 05/22/24 18:20:09             Desc Main
                           Keller
                                         Document
                           521 Keller Parkway          Page 10 of 33
                           Keller, TX 76248




REMARKABLE HEALTHCARE OF SEGUIN LP
DISBURSEMENT
DEBTOR IN POSSESSION CASE 23-42101
                                                                              ACCOUNT #            6196
904 EMERALD BLVD
SOUTHLAKE TX 76092-6203                                                                                      001
                                                                                           Cycle              25
                                                                                      Enclosures                0
                                                                                           Page            2 of 4

                                       WITHDRAWALS (CONTINUED)
04/04     Card Purchase The Home Depot 5200 Seguin          TX 78155 0006                               13.77
04/04     Card Purchase Medina Valley S 1731 830-7095990 TX 78052 0132                                 108.14
04/04     Card Purchase Qt 1863        5542 Northlake TX 76262 0006                                     45.77
04/04     Card Purchase Txdps Crime Rec 9399 Egov.Com        TX 78752 0006                             153.63
04/04     EB to Checking #6188 Ref# 000000 8647312                                                   4,096.20
04/05     Regions Bank Prefunddbt5142               Nandashipp                                       2,779.26
04/05     Card Purchase Buckeye Intrnat 7349 800-828-1629 MO 63043 0006                                702.42
04/05     Performancessla AR Payment Remarkable Hc Cust #02460                                         750.50
04/08     Regions Bank Prefunddbt 5142              Nandashipp                                       1,241.81
04/08     Card Purchase Amzn Mktp Us*el 5942 Amzn.Com/Bill WA 98109 0006                                95.26
04/08     Card Purchase Cash App*joseph 4829 800-9691940 CA 94103 0006                                 800.00
04/08     Card Purchase Sunoco 80022147 5542 Roanoke         TX 76262 0006                              37.73
04/08     Card Purchase Buckeye Intrnat 7349 800-828-1629 MO 63043 0006                                103.02
04/08     Recurring Card Transaction Spectrum       4899 855-707-7328 MO 63131 0132                    125.48
04/08     Card Purchase Exxon Kyle S Kw 5542 Canton        TX 75103 0006                                34.90
04/09     Card Purchase Amzn Mktp Us*r2 5942 Amzn.Com/Bill WA 98109 0006                               418.92
04/10     Card Purchase Amzn Mktp Us*3f 5942 Amzn.Com/Bill WA 98109 0006                                32.33
04/10     Card Purchase Amzn Mktp Us*jt 5942 Amzn.Com/Bill WA 98109 0006                                54.02
04/10     Card Purchase Amzn Mktp Us*vg 5942 Amzn.Com/Bill WA 98109 0006                               880.50
04/10     Card Purchase 7-Eleven 32921 5542 Trophy Club TX 76262 0006                                   43.51
04/10     Card Purchase Supplyhouse.Com 5074 888-757-4774 Ny 11747 0006                                 11.27
04/10     Card Purchase Amzn Mktp Us*05 5942 Amzn.Com/Bill WA 98109 0006                                95.30
04/10     Cac Specialty Payments Regions Bank 17306102                                               4,440.59
04/11     Card Purchase Amazon.Com*hp1q 5942 Amzn.Com/Bill WA 98109 0006                                19.83
04/11     Card Purchase Amzn Mktp Us*f5 5942 Amzn.Com/Bill WA 98109 0006                                18.38
04/12     Card Purchase The Home Depot 5200 Seguin          TX 78155 0006                               35.59
04/12     Card Purchase Homedepot.Com 5200 800-430-3376 GA 30339 0006                                    8.75
04/12     Card Purchase Cash App*joseph 4829 800-9691940 CA 94103 0006                                 425.00
04/12     Performancessla AR Payment Remarkable Hc Cust #02460                                         750.50
04/15     Regions Bank Prefunddbt5142               Nandashipp                                       2,756.39
04/15     Card Purchase Shell Oil 57545 5542 Denton       TX 76201 0006                                 48.94
04/15     Recurring Card Transaction Adobe *Adobe 5734 408-536-6000 CA 95110 0006                       14.06
04/15     Card Purchase Exxon 7-Eleven 5542 Southlake TX 76092 0006                                     50.22
04/16     Card Purchase Amzn Mktp Us*av 5942 Amzn.Com/Bill WA 98109 0006                                95.30
04/16     Card Purchase Amzn Mktp Us*4m 5942 Amzn.Com/Bill WA 98109 0006                                18.23
04/17     Card Purchase The Home Depot 5200 Seguin          TX 78155 0006                               16.43
04/17     Card Purchase The Home Depot 5200 Seguin          TX 78155 0006                               92.53
04/17     Card Purchase Medina Valley S 1731 830-7095990 TX 78052 0132                                 108.14
04/17     Card Purchase Exxon Ice Box 8 5542 Keller      TX 76244 0006                                  47.61
04/18     Regions Bank Acct Trans 5142              Nandashipp                                      35,000.00
04/18     Card Purchase Amzn Mktp Us*88 5942 Amzn.Com/Bill WA 98109 0006                                95.30
04/19     Card Purchase Amazon.Com*s293 5942 Seattle         WA 98109 0006                             252.71
04/19     Care One Communi Careonecom Remarkable Hea M80396914915                                      782.72
04/19     Cpenergy Entex Ent ACH EB Cnp            000012135508                                      3,480.00
04/19     PFS Shreveport AR Payment D.I.P Remarkab 0528- 52803179                                    4,142.71
04/22     Card Purchase New Braunfels U 4900 830-629-8400 TX 78132 0132                                 70.96
04/22     Card Purchase The Home Depot 5200 Seguin          TX 78155 0006                               19.45
04/22     Card Purchase Amzn Mktp Us*0z 5942 Amzn.Com/Bill WA 98109 0006                                50.86
04/22     Card Purchase Tiger Sanitatio 4900 210-333-4287 TX 78222 0006                                809.66
04/22     Card Purchase Amzn Mktp Us*1w 5942 Amzn.Com/Bill WA 98109 0006                                47.87
04/22     Card Purchase The Home Depot 5200 Seguin          TX 78155 0006                               20.91
04/22     Recurring Card Transaction Experian* Credi 8999 479-3436237 CA 92629 2913                     27.05
04/22     Recurring Card Transaction Adobe *Adobe 5734 408-536-6000 CA 95110 0006                       21.64
04/23     Regions Bank Prefunddbt 5142              Nandashipp                                         157.01
        Case 24-40605       Doc   120Bank
                             Regions       Filed 05/22/24 Entered 05/22/24 18:20:09           Desc Main
                             Keller
                                           Document
                             521 Keller Parkway          Page 11 of 33
                              Keller, TX 76248




REMARKABLE HEALTHCARE OF SEGUIN LP
DISBURSEMENT
DEBTOR IN POSSESSION CASE 23-42101
                                                                              ACCOUNT #            6196
904 EMERALD BLVD
SOUTHLAKE TX 76092-6203                                                                                       001
                                                                                           Cycle               25
                                                                                      Enclosures                 0
                                                                                           Page             3 of 4

                                           WITHDRAWALS (CONTINUED)
04/23     Card Purchase Daikin San Marc 5074 San Marcos TX 78666 0006                                   107.85
04/23     EB to Checking # 6188 Ref# 000000 8647352                                                     255.00
04/24     Regions Bank Prefunddbt 5142             Nandashipp                                         3,428.14
04/24     Card Purchase Buckeye Intrnat 7349 800-828-1629 MO 63043 0006                                 585.51
04/24     Card Purchase 7-Eleven 32921 5542 Trophy Club TX 76262 0006                                    47.81
04/24     Marshall Shreddi Sale 1339 Eastwood                                                            71.00
04/24     Miranda M. Willi Sale Remarkable Hea                                                        2,500.00
04/25     Card Purchase Amzn Mktp Us*yz 5942 Amzn.Com/Bill WA 98109 0006                                 68.19
04/25     Card Purchase Amzn Mktp Us*mh 5942 Amzn.Com/Bill WA 98109 0006                                212.45
04/26     Regions Bank Prefunddbt 142              Nandashipp                                         6,971.14
04/26     Regions Bank Prefunddbt 5142             Nandashipp                                           350.00
04/26     Recurring Card Transaction Apple.Com/Bill 5818 866-712-7753 CA 95014 0006                       2.99
04/26     Card Purchase Cash App*joseph 4829 800-9691940 CA 94103 0006                                  425.00
04/26     PFS Shreveport AR Payment D.I.P Remarkab 0528- 52803179                                     3,568.42
04/29     Regions Bank Prefunddbt 5142             Nandashipp                                         1,431.23
04/29     Card Purchase IN *Biomedical 5169 409-7362447 TX 77640 0132                                   511.50
04/29     Card Purchase Exxon 7-Eleven 5542 Northlake TX 76226 0006                                      51.78
04/29     Card Purchase Cash App*cris 4829 800-9691940 CA 94103 0006                                    654.45
04/30     Recurring Card Transaction Adobe *Adobe 5734 408-536-6000 CA 95110 0006                        16.22
04/30     Card Purchase Amazon Ret* Off 5331 Www.Amazon.CO WA 98109 0006                                 50.60

                                                                          Total Withdrawals        $206,764.47


                                                     FEES
04/09     Analysis Explicit Charge 03-24                                                                74.00
04/09     Analysis Charge        03-24                                                                 395.92

                                                                                Total Fees            $469.92


                                           DAILY BALANCE SUMMARY
Date                    Balance              Date             Balance           Date                  Balance
04/01                  50,364.39             04/11           63,466.63          04/22                63,281.32
04/02                  40,161.80             04/12           62,246.79          04/23                62,761.46
04/03                  57,201.33             04/15           59,377.18          04/24                56,129.00
04/04                   1,400.69             04/16           59,263.65          04/25                55,848.36
04/05                  12,527.75             04/17           58,998.94          04/26                44,530.81
04/08                  50,845.93             04/18           73,007.86          04/29                41,881.85
04/09                  49,957.09             04/19           64,349.72          04/30                41,815.03
04/10                  44,399.57



                             You may request account disclosures containing
                              terms, fees, and rate information (if applicable)
                            for your account by contacting any Regions office.
                   Case 24-40605             Doc 120          Filed 05/22/24 Entered 05/22/24 18:20:09                                Desc MainPage 4 of 4
                                                              Document      Page 12 of 33


          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


The law requires you to use "reasonable care and promptness" in examining your bank statement and any checks sent with it and to report to the Bank an
unauthorized signature (i.e., a forgery), any alteration of a check, or any unauthorized endorsement. You must report any forged signatures, alterations or forged
endorsements to the Bank within the time periods specified under the Deposit Agreement. If you do not do this, the Bank will not be liable to you for the losses or
claims arising from the forged signatures, forged endorsements or alterations. Please see the Deposit Agreement for further explanation of your responsibilities
with regard to your statement and checks. A copy of our current Deposit Agreement may be requested at any of our branch locations.

                                                           Summary of Our Error Resolution Procedures
                                                   In Case of Errors or Questions About Your Electronic Transfers
                                                              Telephone us toll-free at 1-800-734-4667
                                                                            or write us at
                                                            Regions Electronic Funds Transfer Services
                                                                         Post Office Box 413
                                                                    Birmingham, Alabama 35201

Please contact Regions as soon as you can, if you think your statement is wrong or if you need more information about a transfer listed on your statement. We
must hear from you no later than sixty (60) days after we sent the FIRST statement on which the problem or error appeared.
      (1) Tell us your name and account number.
      (2) Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe it is an error or why you need more information.
      (3) Tell us the dollar amount of the suspected error.
If you tell us verbally, we may require that you send us your complaint or question in writing within ten (10) business days.

We will determine whether an error occurred within ten (10) business days after we hear from you and will correct any error promptly. If we need more time,
however, we may take up to forty-five (45) days to investigate your complaint or question (ninety (90) days for POS transactions or for transfers initiated outside of
the United States). If we decide to do this, we will credit your account within ten (10) business days for the amount you think is in error. If, after the investigation,
we determine that no bank error occurred, we will debit your account to the extent previously credited. If we ask you to put your complaint in writing and we do not
receive it within ten (10) business days, we may not credit your account.

New Accounts- If an alleged error occurred within thirty (30) days after your first deposit to your account was made, we may have up to ninety (90) days to
investigate your complaint, provided we credit your account within twenty (20) business days for the amount you think is in error.
If we decide there was no error, we will send you a written explanation within three (3) business days after we finish our investigation. You may ask for copies of
the documents that we used in our investigation.
FOR QUESTIONS CONCERNING THIS STATEMENT OR FOR VERIFICATION OF A PREAUTHORIZED DEPOSIT, PLEASE CALL 1-800-REGIONS
(734-4667) OR VISIT YOUR NEAREST REGIONS LOCATION.

ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
You can make a deposit at the branch during business hours or at a Regions Deposit-Smart ATM, and you can also make a transfer or deposit through Regions
Online Banking or Mobile Banking. To make a deposit to an overdrawn account 24 hours a day, please visit https://selfservice.regions.com.
               Case 24-40605      Doc   120Bank
                                   Regions      Filed 05/22/24 Entered 05/22/24 18:20:09                              Desc Main
                                   Preston Center
                                                Document
                                   5858 W. Northwest Highway  Page 13 of 33
                                   Dallas, TX 75225




               REMARKABLE HEALTHCARE OF SEGUIN LP
               DEBTOR IN POSSESSION CASE 23-42101
               GOVERNMENT RECEIVABLES ACCOUNT
               OPERATING ACCOUNT
               904 EMERALD BLVD                                                                           ACCOUNT #        7297
               SOUTHLAKE TX 76092-6203
                                                                                                                                       001
                                                                                                                   Cycle                26
                                                                                                              Enclosures                  0
                                                                                                                   Page              1 of 3

                                                            DACA PASSIVE
                                                 March 30, 2024 through April 30, 2024



                                                                 SUMMARY
Beginning Balance                           $10,883.40                   Minimum Balance                                          $500
Deposits & Credits                         $257,521.38       +
Withdrawals                                $194,041.97       -
Fees                                           $433.17       -
Automatic Transfers                              $0.00       +
Checks                                           $0.00       -
Ending Balance                              $73,929.64



                                                      DEPOSITS & CREDITS
       04/02      Quick Deposit - Thank You                                                                                 24,555.40
       04/02      Novitas Solution Hcclaimpmt Remarkable Hea 676274                                                          2,308.14
       04/03      Quick Deposit - Thank You                                                                                 10,850.00
       04/03      Wellpoint Tx5c Hcclaimpmt Remarkable Hea 3237403554                                                        3,027.38
       04/04      Quick Deposit - Thank You                                                                                 19,854.00
       04/05      Quick Deposit - Thank You                                                                                  2,650.00
       04/05      Quick Deposit - Thank You                                                                                  2,167.72
       04/05      Wellpoint Tx5c Hcclaimpmt Remarkable Hea 3237642647                                                        1,739.70
       04/05      Wps-Tmep Contrac Hcclaimpmt Remarkable Hea 2503686080                                                     14,594.96
       04/09      Quick Deposit - Thank You                                                                                 11,045.94
       04/09      Humana Cha Disb Hcclaimpmt Remarkable Hea 45221510                                                            93.98
       04/09      Novitas Solution Hcclaimpmt Remarkable Hea 676274                                                          8,898.52
       04/11      Quick Deposit - Thank You                                                                                  4,568.12
       04/11      Jhh/Cima Holding CCD Remarkable Hea 004053                                                                24,758.32
       04/12      Quick Deposit - Thank You                                                                                    626.55
       04/15      Wellpoint Tx5c Hcclaimpmt Remarkable Hea 3238359827                                                          579.66
       04/16      Quick Deposit - Thank You                                                                                  1,695.30
       04/16      Novitas Solution Hcclaimpmt Remarkable Hea 676274                                                         38,811.54
       04/18      Quick Deposit - Thank You                                                                                  4,284.00
       04/19      Wellpoint Tx5c Hcclaimpmt Remarkable Hea 3238905990                                                        3,900.31
       04/19      EB From Checking # 4869 Ref# 000000 8647345                                                                3,082.20
       04/22      Novitas Solution Hcclaimpmt Remarkable Hea 676274                                                         23,020.58
       04/23      Wellpoint Tx5c Hcclaimpmt Remarkable Hea 3239129604                                                           69.24
       04/23      Wps-Tmep Contrac Hcclaimpmt Remarkable Hea 2504038406                                                      5,100.00
       04/24      Quick Deposit - Thank You                                                                                  8,871.40
       04/24      Molina Healthcar Molinaach 0004remarkable 01275756                                                            39.26
       04/24      Health Human Svc Hcclaimpmt Remarkable Hea 12730145666000                                                 14,817.49
       04/25      Wellpoint Tx5c Hcclaimpmt Remarkable Hea 3239416694                                                          142.04




                                               Thank You For Banking With Regions!
                                       2024 Regions Bank Member FDIC. All loans subject to credit approval.
        Case 24-40605       Doc   120Bank
                             Regions      Filed 05/22/24 Entered 05/22/24 18:20:09              Desc Main
                             Preston Center
                                          Document
                             5858 W. Northwest Highway  Page 14 of 33
                             Dallas, TX 75225




REMARKABLE HEALTHCARE OF SEGUIN LP
DEBTOR IN POSSESSION CASE 23-42101
GOVERNMENT RECEIVABLES ACCOUNT
                                                                                ACCOUNT #            7297
OPERATING ACCOUNT
904 EMERALD BLVD                                                                                               001
SOUTHLAKE TX 76092-6203                                                                    Cycle                26
                                                                                      Enclosures                  0
                                                                                           Page              2 of 3

                                    DEPOSITS & CREDITS (CONTINUED)
04/29     Quick Deposit - Thank You                                                                   11,198.41
04/30     Quick Deposit - Thank You                                                                    9,800.00
04/30     Humana Cha Disb Hcclaimpmt Remarkable Hea 46627572                                             371.22

                                                                     Total Deposits & Credits       $257,521.38


                                                    WITHDRAWALS
04/01     Returned Deposit Item # of Itm(S) 0001                                                       2,447.00
04/02     Regions Bank Acct Trans 5142           Jmcpike                                              10,200.00
04/03     Regions Bank Acct Trans 5142           Jmcpike                                              27,627.32
04/04     Regions Bank Acct Trans 5142           Nandashipp                                           11,300.00
04/08     EB to Checking # 6196 Ref# 000000 8647323                                                   40,556.38
04/10     EB to Checking # 4869 Ref# 000000 8647332                                                      500.00
04/11     EB to Checking # 6196 Ref# 000000 8647338                                                   19,105.27
04/18     Regions Bank Acct Trans 5142           Nandashipp                                           71,039.49
04/19     Regions Bank Acct Trans 5142           Nandashipp                                           11,266.51

                                                                           Total Withdrawals        $194,041.97


                                                       FEES
04/09     Analysis Charge      03-24                                                                    433.17


                                          DAILY BALANCE SUMMARY
Date                   Balance              Date               Balance            Date                 Balance
04/01                  8,436.40             04/10             19,605.27           04/22               23,520.58
04/02                 25,099.94             04/11             29,826.44           04/23               28,689.82
04/03                 11,350.00             04/12             30,452.99           04/24               52,417.97
04/04                 19,904.00             04/15             31,032.65           04/25               52,560.01
04/05                 41,056.38             04/16             71,539.49           04/29               63,758.42
04/08                    500.00             04/18              4,784.00           04/30               73,929.64
04/09                 20,105.27             04/19                500.00



                             You may request account disclosures containing
                              terms, fees, and rate information (if applicable)
                            for your account by contacting any Regions office.
                   Case 24-40605             Doc 120          Filed 05/22/24 Entered 05/22/24 18:20:09                                Desc MainPage 3 of 3
                                                              Document      Page 15 of 33


          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


The law requires you to use "reasonable care and promptness" in examining your bank statement and any checks sent with it and to report to the Bank an
unauthorized signature (i.e., a forgery), any alteration of a check, or any unauthorized endorsement. You must report any forged signatures, alterations or forged
endorsements to the Bank within the time periods specified under the Deposit Agreement. If you do not do this, the Bank will not be liable to you for the losses or
claims arising from the forged signatures, forged endorsements or alterations. Please see the Deposit Agreement for further explanation of your responsibilities
with regard to your statement and checks. A copy of our current Deposit Agreement may be requested at any of our branch locations.

                                                           Summary of Our Error Resolution Procedures
                                                   In Case of Errors or Questions About Your Electronic Transfers
                                                              Telephone us toll-free at 1-800-734-4667
                                                                            or write us at
                                                            Regions Electronic Funds Transfer Services
                                                                         Post Office Box 413
                                                                    Birmingham, Alabama 35201

Please contact Regions as soon as you can, if you think your statement is wrong or if you need more information about a transfer listed on your statement. We
must hear from you no later than sixty (60) days after we sent the FIRST statement on which the problem or error appeared.
      (1) Tell us your name and account number.
      (2) Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe it is an error or why you need more information.
      (3) Tell us the dollar amount of the suspected error.
If you tell us verbally, we may require that you send us your complaint or question in writing within ten (10) business days.

We will determine whether an error occurred within ten (10) business days after we hear from you and will correct any error promptly. If we need more time,
however, we may take up to forty-five (45) days to investigate your complaint or question (ninety (90) days for POS transactions or for transfers initiated outside of
the United States). If we decide to do this, we will credit your account within ten (10) business days for the amount you think is in error. If, after the investigation,
we determine that no bank error occurred, we will debit your account to the extent previously credited. If we ask you to put your complaint in writing and we do not
receive it within ten (10) business days, we may not credit your account.

New Accounts- If an alleged error occurred within thirty (30) days after your first deposit to your account was made, we may have up to ninety (90) days to
investigate your complaint, provided we credit your account within twenty (20) business days for the amount you think is in error.
If we decide there was no error, we will send you a written explanation within three (3) business days after we finish our investigation. You may ask for copies of
the documents that we used in our investigation.
FOR QUESTIONS CONCERNING THIS STATEMENT OR FOR VERIFICATION OF A PREAUTHORIZED DEPOSIT, PLEASE CALL 1-800-REGIONS
(734-4667) OR VISIT YOUR NEAREST REGIONS LOCATION.

ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
You can make a deposit at the branch during business hours or at a Regions Deposit-Smart ATM, and you can also make a transfer or deposit through Regions
Online Banking or Mobile Banking. To make a deposit to an overdrawn account 24 hours a day, please visit https://selfservice.regions.com.
Case 24-40605   Doc 120   Filed 05/22/24 Entered 05/22/24 18:20:09   Desc Main
                          Document      Page 16 of 33
               Case 24-40605        Doc  120Bank
                                     Regions      Filed 05/22/24 Entered 05/22/24 18:20:09                                    Desc Main
                                     Ft Worth
                                                  Document
                                     3017 W 7th Street          Page 17 of 33
                                      Fort Worth, TX 76107




               REMARKABLE HEALTHCARE OF SEGUIN LP
               DEBTOR IN POSSESSION CASE 23-42101
               PAYROLL
               904 EMERALD BLVD
               SOUTHLAKE TX 76092-6203                                                                       ACCOUNT #             4037
                                                                                                                                               001
                                                                                                                         Cycle                  26
                                                                                                                    Enclosures                    0
                                                                                                                         Page                1 of 4

                                            COMMERCIAL ANALYZED CHECKING
                                                    March 30, 2024 through April 30, 2024



                                                                    SUMMARY
Beginning Balance                                 $921.22                   Minimum Balance                                               $320
Deposits & Credits                            $117,306.00       +
Withdrawals                                     $4,484.57       -
Fees                                               $84.88       -
Automatic Transfers                                 $0.00       +
Checks                                        $109,019.19       -
Ending Balance                                  $4,638.58



                                                         DEPOSITS & CREDITS
       04/18      Regions Bank     Acct Trans 5142               Nandashipp                                                         71,039.49
       04/18      Regions Bank     Acct Trans 5142               Nandashipp                                                         35,000.00
       04/19      Regions Bank     Acct Trans 5142               Nandashipp                                                         11,266.51

                                                                                               Total Deposits & Credits           $117,306.00


                                                              WITHDRAWALS
       04/18      Regions Bank Prefunddbt 5142          Nandashipp                                                                   4,142.02
       04/19      Harland Clarke Chk Orders Remarkable Hea                                                                             342.55

                                                                                                       Total Withdrawals            $4,484.57


                                                                       FEES
       04/09      Analysis Explicit Charge 03-24                                                                                          37.00
       04/09      Analysis Charge        03-24                                                                                            47.88

                                                                                                                 Total Fees           $84.88


                                                                    CHECKS
       Date           Check No.                 Amount                                       Date                Check No.            Amount
       04/05              2272                   109.29                                      04/19                   2683              965.83
       04/04              2591 *                 406.65                                      04/22                   2684            1,633.96
       04/22              2680 *                 473.98                                      04/23                   2685              196.52
       04/22              2681                   373.33                                      04/22                   2686              745.93
       04/22              2682                    94.65                                      04/26                   2687              199.39



                                                   Thank You For Banking With Regions!
                                          2024 Regions Bank Member FDIC. All loans subject to credit approval.
        Case 24-40605     Doc  120Bank
                           Regions      Filed 05/22/24 Entered 05/22/24 18:20:09     Desc Main
                           Ft Worth
                                        Document
                           3017 W 7th Street          Page 18 of 33
                           Fort Worth, TX 76107




REMARKABLE HEALTHCARE OF SEGUIN LP
DEBTOR IN POSSESSION CASE 23-42101
PAYROLL
                                                                      ACCOUNT #           04037
904 EMERALD BLVD
SOUTHLAKE TX 76092-6203                                                                              001
                                                                                Cycle                 26
                                                                           Enclosures                   0
                                                                                Page               2 of 4

                                           CHECKS (CONTINUED)
Date         Check No.               Amount                  Date       Check No.            Amount
04/22            2688                 986.56                 04/22          2737            1,521.48
04/22            2689               1,140.24                 04/19          2738              382.48
04/22            2690                 373.87                 04/19          2739            1,293.47
04/29            2691               1,000.17                 04/22          2740            1,195.13
04/22            2692               1,679.58                 04/26          2741              448.86
04/22            2693                 165.08                 04/22          2742            1,218.25
04/22            2694               2,809.68                 04/30          2744 *            403.51
04/22            2695               1,126.42                 04/19          2745            3,026.05
04/22            2696               1,137.30                 04/29          2746              174.54
04/19            2697               2,061.79                 04/19          2747            1,141.79
04/23            2698               3,154.82                 04/19          2748            3,039.94
04/22            2699               2,047.35                 04/22          2749              356.09
04/22            2700                 958.00                 04/19          2750              718.80
04/19            2701                 898.96                 04/25          2751              375.18
04/19            2702               1,348.04                 04/22          2752              759.57
04/19            2703               1,852.18                 04/22          2753              913.45
04/22            2704               2,992.14                 04/22          2754              603.37
04/22            2705                 556.80                 04/26          2755              903.11
04/23            2706                 623.12                 04/22          2756            1,435.12
04/24            2707                 160.69                 04/19          2757              617.63
04/23            2708               1,384.90                 04/22          2758            1,906.00
04/22            2709                 199.25                 04/29          2759            1,711.76
04/22            2710                 680.25                 04/22          2760            1,151.47
04/23            2711                  89.08                 04/19          2761            2,067.97
04/19            2712                 668.53                 04/19          2762            1,371.50
04/22            2713                 247.86                 04/26          2763              835.57
04/22            2714               1,638.65                 04/22          2764              955.43
04/22            2715                 551.02                 04/22          2765            1,438.05
04/19            2716               1,876.08                 04/22          2766              205.45
04/22            2717                 118.14                 04/22          2767            3,797.74
04/22            2718               1,075.30                 04/23          2768              310.34
04/22            2719                 367.37                 04/22          2769            1,724.68
04/19            2721 *               472.34                 04/26          2770              691.74
04/22            2722               1,103.45                 04/19          2771            2,136.13
04/19            2725 *               438.41                 04/19          2772              242.02
04/19            2726               1,918.27                 04/23          2773              547.82
04/23            2727                 489.81                 04/22          2774              562.40
04/19            2728               3,061.88                 04/22          2775            1,884.40
04/22            2729                 316.47                 04/22          2777 *            439.13
04/19            2730               1,663.64                 04/22          2778            2,529.37
04/22            2731               1,161.71                 04/19          2779              832.89
04/22            2732                 383.43                 04/22          2780              266.70
04/22            2733               2,586.57                 04/22          2781              820.33
04/19            2734                 794.52                 04/22          2782            1,485.60
04/22            2735                 108.21                 04/22          2783              798.81
04/22            2736                 580.72                 04/22          2784            1,529.89
                                                                      Total Checks       $109,019.19
* Break In Check Number Sequence.
        Case 24-40605   Doc  120Bank
                         Regions      Filed 05/22/24 Entered 05/22/24 18:20:09    Desc Main
                         Ft Worth
                                      Document
                         3017 W 7th Street          Page 19 of 33
                         Fort Worth, TX 76107




REMARKABLE HEALTHCARE OF SEGUIN LP
DEBTOR IN POSSESSION CASE 23-42101
PAYROLL
                                                                     ACCOUNT #         4037
904 EMERALD BLVD
SOUTHLAKE TX 76092-6203                                                                          001
                                                                               Cycle              26
                                                                          Enclosures                0
                                                                               Page            3 of 4

                                      DAILY BALANCE SUMMARY
Date                Balance            Date            Balance         Date              Balance
04/04                 514.57           04/19          78,250.69        04/25            11,007.23
04/05                 405.28           04/22          18,339.51        04/26             7,928.56
04/09                 320.40           04/23          11,543.10        04/29             5,042.09
04/18             102,217.87           04/24          11,382.41        04/30             4,638.58



                         You may request account disclosures containing
                          terms, fees, and rate information (if applicable)
                        for your account by contacting any Regions office.
                   Case 24-40605             Doc 120          Filed 05/22/24 Entered 05/22/24 18:20:09                                Desc MainPage 4 of 4
                                                              Document      Page 20 of 33


          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


The law requires you to use "reasonable care and promptness" in examining your bank statement and any checks sent with it and to report to the Bank an
unauthorized signature (i.e., a forgery), any alteration of a check, or any unauthorized endorsement. You must report any forged signatures, alterations or forged
endorsements to the Bank within the time periods specified under the Deposit Agreement. If you do not do this, the Bank will not be liable to you for the losses or
claims arising from the forged signatures, forged endorsements or alterations. Please see the Deposit Agreement for further explanation of your responsibilities
with regard to your statement and checks. A copy of our current Deposit Agreement may be requested at any of our branch locations.

                                                           Summary of Our Error Resolution Procedures
                                                   In Case of Errors or Questions About Your Electronic Transfers
                                                              Telephone us toll-free at 1-800-734-4667
                                                                            or write us at
                                                            Regions Electronic Funds Transfer Services
                                                                         Post Office Box 413
                                                                    Birmingham, Alabama 35201

Please contact Regions as soon as you can, if you think your statement is wrong or if you need more information about a transfer listed on your statement. We
must hear from you no later than sixty (60) days after we sent the FIRST statement on which the problem or error appeared.
      (1) Tell us your name and account number.
      (2) Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe it is an error or why you need more information.
      (3) Tell us the dollar amount of the suspected error.
If you tell us verbally, we may require that you send us your complaint or question in writing within ten (10) business days.

We will determine whether an error occurred within ten (10) business days after we hear from you and will correct any error promptly. If we need more time,
however, we may take up to forty-five (45) days to investigate your complaint or question (ninety (90) days for POS transactions or for transfers initiated outside of
the United States). If we decide to do this, we will credit your account within ten (10) business days for the amount you think is in error. If, after the investigation,
we determine that no bank error occurred, we will debit your account to the extent previously credited. If we ask you to put your complaint in writing and we do not
receive it within ten (10) business days, we may not credit your account.

New Accounts- If an alleged error occurred within thirty (30) days after your first deposit to your account was made, we may have up to ninety (90) days to
investigate your complaint, provided we credit your account within twenty (20) business days for the amount you think is in error.
If we decide there was no error, we will send you a written explanation within three (3) business days after we finish our investigation. You may ask for copies of
the documents that we used in our investigation.
FOR QUESTIONS CONCERNING THIS STATEMENT OR FOR VERIFICATION OF A PREAUTHORIZED DEPOSIT, PLEASE CALL 1-800-REGIONS
(734-4667) OR VISIT YOUR NEAREST REGIONS LOCATION.

ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
You can make a deposit at the branch during business hours or at a Regions Deposit-Smart ATM, and you can also make a transfer or deposit through Regions
Online Banking or Mobile Banking. To make a deposit to an overdrawn account 24 hours a day, please visit https://selfservice.regions.com.
  RH Seguin Exhibit
          Case      C
               24-40605              Doc 120       Filed 05/22/24 Entered 05/22/24 18:20:09                           Desc Main
                                                   Document      Page 21 of 33

Post Date    Account Name       Transaction Description    Status    Debit/CreditAmount   Transaction Detail                  BAI Code Currency
     4/24/24 SEG COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit          6300 AETNA AS01             /               XXXXX4566
                                                                                                                                    165 USD            /
     4/22/24 SEG COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit            50 CENTRAL PAYMENT              /            165
                                                                                                                                      84870022149088
                                                                                                                                         USD
     4/19/24 SEG COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit        3082.2 CENTRAL PAYMENT              /            165
                                                                                                                                      84870022149088
                                                                                                                                         USD
     4/18/24 SEG COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit          8002 CENTRAL PAYMENT              /            165
                                                                                                                                      84870022149088
                                                                                                                                         USD
     4/18/24 SEG COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit        160.11 HNB - ECHO            /                273014566
                                                                                                                                    165 USD           /
     4/16/24 SEG COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit      27141.69 CENTENE CORP               /              165 USD       /
     4/16/24 SEG COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit       9734.64 CENTRAL PAYMENT              /            165
                                                                                                                                      84870022149088
                                                                                                                                         USD
     4/15/24 SEG COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit       3054.75 CENTRAL PAYMENT              /            165
                                                                                                                                      84870022149088
                                                                                                                                         USD
     4/12/24 SEG COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit          1383 CENTRAL PAYMENT              /            165
                                                                                                                                      84870022149088
                                                                                                                                         USD
      4/8/24 SEG COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit           200 CENTRAL PAYMENT              /            165
                                                                                                                                      84870022149088
                                                                                                                                         USD
      4/5/24 SEG COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit      13154.24 HNB - ECHO            /                273014566
                                                                                                                                    165 USD           /
      4/5/24 SEG COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit          2205 CENTRAL PAYMENT              /            165
                                                                                                                                      84870022149088
                                                                                                                                         USD
      4/4/24 SEG COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit       21257.9 CENTRAL PAYMENT              /            165
                                                                                                                                      84870022149088
                                                                                                                                         USD
      4/3/24 SEG COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit       7725.04 CENTRAL PAYMENT              /            165
                                                                                                                                      84870022149088
                                                                                                                                         USD
      4/1/24 SEG COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit          1836 CENTRAL PAYMENT              /            165
                                                                                                                                      84870022149088
                                                                                                                                         USD
     4/30/24 SEG GOV Deposits   CHECK DEPOSIT PACKAGE      Cleared   Credit          9800                                           175 USD
     4/30/24 SEG GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit        371.22 HUMANA CHA DISB              /            165
                                                                                                                                      46627572
                                                                                                                                         USD
     4/29/24 SEG GOV Deposits   CHECK DEPOSIT PACKAGE      Cleared   Credit      11198.41                                           175 USD
     4/25/24 SEG GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit        142.04 Wellpoint TX5C           /               3239416694
                                                                                                                                    165 USD
     4/24/24 SEG GOV Deposits   CHECK DEPOSIT PACKAGE      Cleared   Credit        8871.4                                           175 USD
     4/24/24 SEG GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit      14817.49 HEALTH HUMAN SVC               /          16512730145666000
                                                                                                                                         USD
     4/24/24 SEG GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit         39.26 MOLINA HEALTHCAR               /          16501275756
                                                                                                                                         USD
     4/23/24 SEG GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit          5100 WPS-TMEP CONTRAC                /         1652504038406
                                                                                                                                         USD
     4/23/24 SEG GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit         69.24 Wellpoint TX5C           /               3239129604
                                                                                                                                    165 USD
     4/22/24 SEG GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit      23020.58 NOVITAS SOLUTION             /            165
                                                                                                                                      676274
                                                                                                                                         USD
     4/19/24 SEG GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit       3900.31 Wellpoint TX5C           /               3238905990
                                                                                                                                    165 USD
     4/18/24 SEG GOV Deposits   CHECK DEPOSIT PACKAGE      Cleared   Credit          4284                                           175 USD
     4/16/24 SEG GOV Deposits   CHECK DEPOSIT PACKAGE      Cleared   Credit        1695.3                                           175 USD
     4/16/24 SEG GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit      38811.54 NOVITAS SOLUTION             /            165
                                                                                                                                      676274
                                                                                                                                         USD
     4/15/24 SEG GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit        579.66 Wellpoint TX5C           /               3238359827
                                                                                                                                    165 USD
     4/12/24 SEG GOV Deposits   CHECK DEPOSIT PACKAGE      Cleared   Credit        626.55                                           175 USD
     4/11/24 SEG GOV Deposits   CHECK DEPOSIT PACKAGE      Cleared   Credit       4568.12                                           175 USD
     4/11/24 SEG GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit      24758.32 JHH CIMA HOLDING             /            165
                                                                                                                                     004053
                                                                                                                                         USD
      4/9/24 SEG GOV Deposits   CHECK DEPOSIT PACKAGE      Cleared   Credit      11045.94                                           175 USD
      4/9/24 SEG GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit       8898.52 NOVITAS SOLUTION             /            165
                                                                                                                                      676274
                                                                                                                                         USD
      4/9/24 SEG GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit         93.98 HUMANA CHA DISB              /            165
                                                                                                                                      45221510
                                                                                                                                         USD
      4/5/24 SEG GOV Deposits   CHECK DEPOSIT PACKAGE      Cleared   Credit          2650                                           175 USD
      4/5/24 SEG GOV Deposits   CHECK DEPOSIT PACKAGE      Cleared   Credit       2167.72                                           175 USD
      4/5/24 SEG GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit      14594.96 WPS-TMEP CONTRAC                /         1652503686080
                                                                                                                                         USD
      4/5/24 SEG GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit        1739.7 Wellpoint TX5C           /               3237642647
                                                                                                                                    165 USD
      4/4/24 SEG GOV Deposits   CHECK DEPOSIT PACKAGE      Cleared   Credit        19854                                            175 USD
      4/3/24 SEG GOV Deposits   CHECK DEPOSIT PACKAGE      Cleared   Credit        10850                                            175 USD
      4/3/24 SEG GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit       3027.38 Wellpoint TX5C           /               3237403554
                                                                                                                                    165 USD
      4/2/24 SEG GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit       2308.14 NOVITAS SOLUTION             /            165
                                                                                                                                      676274
                                                                                                                                         USD
      4/2/24 SEG GOV Deposits   CHECK DEPOSIT PACKAGE      Cleared   Credit       24555.4                                           175 USD
      4/1/24 SEG GOV Deposits   DEPOSITED ITEM RETURNED    Cleared   Debit          -2447 Frozen/Blocked Account /                  555 USD

                                                                                357278.8
          Case
   RH Seguin    24-40605
             Exhibit D                     Doc 120         Filed 05/22/24 Entered 05/22/24 18:20:09                  Desc Main
                                                           Document      Page 22 of 33

Select Row   4/30/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -16.22 62000019 Debit   ADOBE *ADOBE 5734 / 408-536-6000 CA 95110 0006 /
Select Row   4/30/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking      -50.6 62000019 Debit   AMAZON RET* OFF 5331 / WWW.AMAZON.CO WA 98109 0006 /
Select Row   4/29/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking    -654.45 62000019 Debit   CASH APP*CRIS 4829 / 800-9691940 CA 94103 0006 /
Select Row   4/29/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -511.5 62000019 Debit   IN *BIOMEDICAL 5169 / 409-7362447 TX 77640 0132 /
Select Row   4/29/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -51.78 62000019 Debit   EXXON 7-ELEVEN 5542 / NORTHLAKE TX 76226 0006 /
Select Row   4/29/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH
                                                           -1,431.23
                                                               DEBIT 62000019 Debit   REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
Select Row   4/26/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking      -2.99 62000019 Debit   APPLE.COM BILL 5818 / 866-712-7753 CA 95014 0006 /
Select Row   4/26/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking       -425 62000019 Debit   CASH APP*JOSEPH 4829 / 800-9691940 CA 94103 0006 /
Select Row   4/26/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH
                                                           -6,971.14
                                                               DEBIT 62000019 Debit   REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
Select Row   4/26/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH DEBIT
                                                                -350 62000019 Debit   REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
Select Row   4/26/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH
                                                           -3,568.42
                                                               DEBIT 62000019 Debit   PFS Shreveport / 0528- 52803179 / PFS Shreveport AR PAYMENT / D.I.P Rema
Select Row   4/25/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -68.19 62000019 Debit   AMZN Mktp US*YZ 5942 / Amzn.com bill WA 98109 0006 /
Select Row   4/25/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking    -212.45 62000019 Debit   AMZN Mktp US*MH 5942 / Amzn.com bill WA 98109 0006 /
Select Row   4/24/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking    -585.51 62000019 Debit   BUCKEYE INTRNAT 7349 / 800-828-1629 MO 63043 0006 /
Select Row   4/24/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -47.81 62000019 Debit   7-ELEVEN 32921 5542 / TROPHY CLUB TX 76262 0006 /
Select Row   4/24/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH
                                                           -3,428.14
                                                               DEBIT 62000019 Debit   REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
Select Row   4/24/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH
                                                           -2,500.00
                                                               DEBIT 62000019 Debit   MIRANDA M. WILLI / / MIRANDA M. WILLI SALE / REMARKABLE HEA /
Select Row   4/24/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH DEBIT
                                                                 -71 62000019 Debit   MARSHALL SHREDDI / / MARSHALL SHREDDI SALE / 1339 EASTWOOD /
Select Row   4/23/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking    -107.85 62000019 Debit   DAIKIN SAN MARC 5074 / SAN MARCOS TX 78666 0006 /
Select Row   4/23/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH-157.01
                                                               DEBIT 62000019 Debit   REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
Select Row   4/23/24 Cleared   SEG Disbursements
                                         MISCELLANEOUS
                                                 Checking DEBIT-255 62000019 Debit    EB TO CHECKING # 0247446188 / REF# 000000 8647352 /
Select Row   4/22/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -27.05 62000019 Debit   Experian* Credi 8999 / 479-3436237 CA 92629 2913 /
Select Row   4/22/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -21.64 62000019 Debit   ADOBE *ADOBE 5734 / 408-536-6000 CA 95110 0006 /
Select Row   4/22/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking    -809.66 62000019 Debit   TIGER SANITATIO 4900 / 210-333-4287 TX 78222 0006 /
Select Row   4/22/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -70.96 62000019 Debit   NEW BRAUNFELS U 4900 / 830-629-8400 TX 78132 0132 /
Select Row   4/22/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -50.86 62000019 Debit   AMZN Mktp US*0Z 5942 / Amzn.com bill WA 98109 0006 /
Select Row   4/22/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -47.87 62000019 Debit   AMZN Mktp US*1W 5942 / Amzn.com bill WA 98109 0006 /
Select Row   4/22/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -20.91 62000019 Debit   THE HOME DEPOT 5200 / SEGUIN TX 78155 0006 /
Select Row   4/22/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -19.45 62000019 Debit   THE HOME DEPOT 5200 / SEGUIN TX 78155 0006 /
Select Row   4/19/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking    -252.71 62000019 Debit   AMAZON.COM*S293 5942 / SEATTLE WA 98109 0006 /
Select Row   4/19/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH
                                                           -4,142.71
                                                               DEBIT 62000019 Debit   PFS Shreveport / 0528- 52803179 / PFS Shreveport AR PAYMENT / D.I.P Rema
Select Row   4/19/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH
                                                           -3,480.00
                                                               DEBIT 62000019 Debit   CPENERGY ENTEX ENT ACH EB / CNP 000012135508 /
Select Row   4/19/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH-782.72
                                                               DEBIT 62000019 Debit   CARE ONE COMMUNI CAREONECOM / REMARKABLE HEA M80396914915 /
Select Row   4/18/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking      -95.3 62000019 Debit   AMZN Mktp US*88 5942 / Amzn.com bill WA 98109 0006 /
Select Row   4/17/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -92.53 62000019 Debit   THE HOME DEPOT 5200 / SEGUIN TX 78155 0006 /
Select Row   4/17/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -16.43 62000019 Debit   THE HOME DEPOT 5200 / SEGUIN TX 78155 0006 /
Select Row   4/17/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking    -108.14 62000019 Debit   MEDINA VALLEY S 1731 / 830-7095990 TX 78052 0132 /
Select Row   4/17/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -47.61 62000019 Debit   EXXON ICE BOX 8 5542 / KELLER TX 76244 0006 /
Select Row   4/16/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking      -95.3 62000019 Debit   AMZN Mktp US*AV 5942 / Amzn.com bill WA 98109 0006 /
Select Row   4/16/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -18.23 62000019 Debit   AMZN Mktp US*4M 5942 / Amzn.com bill WA 98109 0006 /
Select Row   4/15/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -14.06 62000019 Debit   ADOBE *ADOBE 5734 / 408-536-6000 CA 95110 0006 /
Select Row   4/15/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -50.22 62000019 Debit   EXXON 7-ELEVEN 5542 / SOUTHLAKE TX 76092 0006 /
Select Row   4/15/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -48.94 62000019 Debit   SHELL OIL 57545 5542 / DENTON TX 76201 0006 /
Select Row   4/15/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH
                                                           -2,756.39
                                                               DEBIT 62000019 Debit   REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
Select Row   4/12/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking       -425 62000019 Debit   CASH APP*JOSEPH 4829 / 800-9691940 CA 94103 0006 /
Select Row   4/12/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -35.59 62000019 Debit   THE HOME DEPOT 5200 / SEGUIN TX 78155 0006 /
Select Row   4/12/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking      -8.75 62000019 Debit   HOMEDEPOT.COM 5200 / 800-430-3376 GA 30339 0006 /
Select Row   4/12/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH-750.5
                                                               DEBIT 62000019 Debit   PERFORMANCESSLA / Cust #02460 / PERFORMANCESSLA AR PAYMENT / R
Select Row   4/11/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -19.83 62000019 Debit   Amazon.com*HP1Q 5942 / Amzn.com bill WA 98109 0006 /
Select Row   4/11/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -18.38 62000019 Debit   AMZN Mktp US*F5 5942 / Amzn.com bill WA 98109 0006 /
Select Row   4/10/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH
                                                           -4,440.59
                                                               DEBIT 62000019 Debit   CAC SPECIALTY / 17306102 / CAC SPECIALTY PAYMENTS / REGIONS BANK
Select Row   4/10/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -11.27 62000019 Debit   SUPPLYHOUSE.COM 5074 / 888-757-4774 NY 11747 0006 /
Select Row   4/10/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -32.33 62000019 Debit   AMZN Mktp US*3F 5942 / Amzn.com bill WA 98109 0006 /
Select Row   4/10/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -43.51 62000019 Debit   7-ELEVEN 32921 5542 / TROPHY CLUB TX 76262 0006 /
Select Row   4/10/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -54.02 62000019 Debit   AMZN Mktp US*JT 5942 / Amzn.com bill WA 98109 0006 /
Select Row   4/10/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking      -95.3 62000019 Debit   AMZN Mktp US*05 5942 / Amzn.com bill WA 98109 0006 /
Select Row   4/10/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -880.5 62000019 Debit   AMZN Mktp US*VG 5942 / Amzn.com bill WA 98109 0006 /
Select Row    4/9/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking    -418.92 62000019 Debit   AMZN Mktp US*R2 5942 / Amzn.com bill WA 98109 0006 /
Select Row    4/9/24 Cleared   SEG Disbursements
                                         MISCELLANEOUS
                                                 Checking FEES
                                                             -395.92 62000019 Debit   ANALYSIS CHARGE 03-24 /
Select Row    4/9/24 Cleared   SEG Disbursements
                                         MISCELLANEOUS
                                                 Checking FEES -74 62000019 Debit     ANALYSIS EXPLICIT CHARGE 03-24 /
Select Row    4/8/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking    -125.48 62000019 Debit   Spectrum 4899 / 855-707-7328 MO 63131 0132 /
Select Row    4/8/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking       -800 62000019 Debit   CASH APP*JOSEPH 4829 / 800-9691940 CA 94103 0006 /
Select Row    4/8/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking    -103.02 62000019 Debit   BUCKEYE INTRNAT 7349 / 800-828-1629 MO 63043 0006 /
Select Row    4/8/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -95.26 62000019 Debit   AMZN Mktp US*EL 5942 / Amzn.com bill WA 98109 0006 /
Select Row    4/8/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -37.73 62000019 Debit   SUNOCO 80022147 5542 / ROANOKE TX 76262 0006 /
Select Row    4/8/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking      -34.9 62000019 Debit   EXXON KYLE S KW 5542 / CANTON TX 75103 0006 /
Select Row    4/8/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH
                                                           -1,241.81
                                                               DEBIT 62000019 Debit   REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
Select Row    4/5/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking    -702.42 62000019 Debit   BUCKEYE INTRNAT 7349 / 800-828-1629 MO 63043 0006 /
Select Row    4/5/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH
                                                           -2,779.26
                                                               DEBIT 62000019 Debit   REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
Select Row    4/5/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH-750.5
                                                               DEBIT 62000019 Debit   PERFORMANCESSLA / Cust #02460 / PERFORMANCESSLA AR PAYMENT / R
Select Row    4/4/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking    -153.63 62000019 Debit   TXDPS CRIME REC 9399 / EGOV.COM TX 78752 0006 /
Select Row    4/4/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking    -108.14 62000019 Debit   MEDINA VALLEY S 1731 / 830-7095990 TX 78052 0132 /
Select Row    4/4/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -45.77 62000019 Debit   QT 1863 5542 / NORTHLAKE TX 76262 0006 /
Select Row    4/4/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -13.77 62000019 Debit   THE HOME DEPOT 5200 / SEGUIN TX 78155 0006 /
Select Row    4/4/24 Cleared   SEG Disbursements
                                         MISCELLANEOUS
                                                 Checking DEBIT
                                                           -4,096.20 62000019 Debit   EB TO CHECKING # 0247446188 / REF# 000000 8647312 /
Select Row    4/3/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -14.06 62000019 Debit   ADOBE *ADOBE 5734 / 408-536-6000 CA 95110 0006 /
                Case 24-40605              Doc 120         Filed 05/22/24 Entered 05/22/24 18:20:09              Desc Main
                                                           Document      Page 23 of 33

Select Row    4/3/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking    -303.05 62000019 Debit   SQ *UNIFIED SEC 1520 / gosq.com TX 78232 0132 /
Select Row    4/2/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -21.64 62000019 Debit   ADOBE *ADOBE 5734 / 408-536-6000 CA 95110 0006 /
Select Row    4/2/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking      -42.3 62000019 Debit   EXXON KYLE S KW 5542 / CANTON TX 75103 0006 /
Select Row    4/2/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH
                                                          -14,815.19
                                                               DEBIT 62000019 Debit   HEALTH CARE SERV / 0839506957 / HEALTH CARE SERV OBPPAYMT / REM
Select Row    4/2/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH
                                                           -3,132.95
                                                               DEBIT 62000019 Debit   T4HOUSING-OPACT_ WEB PMTS / LaurieMcPike 3ZBD1G /
Select Row    4/2/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH
                                                           -2,390.51
                                                               DEBIT 62000019 Debit   CENTRAL PAYMENT / 84...
Select Row    4/1/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -16.22 62000019 Debit   ADOBE *ADOBE 5734 / 408-536-6000 CA 95110 0006 /
Select Row    4/1/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking    -313.93 62000019 Debit   AMZN Mktp US*QD 5942 / Amzn.com bill WA 98109 0006 /
Select Row    4/1/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -74.29 62000019 Debit   PAYPAL *GLENSWA 5651 / 4029357733 CA 95131 0006 /
Select Row    4/1/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -42.03 62000019 Debit   SUNOCO 80022147 5542 / ROANOKE TX 76262 0006 /
Select Row   3/29/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -77.26 62000019 Debit   BUCKEYE INTRNAT 7349 / 800-828-1629 MO 63043 0006 /
Select Row   3/29/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking    -231.11 62000019 Debit   eBay O*13-11368 5311 / San Jose CA 95131 0006 /
Select Row   3/29/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH-750.5
                                                               DEBIT 62000019 Debit   PERFORMANCESSLA / Cust #02460 / PERFORMANCESSLA AR PAYMENT / R
Select Row   3/28/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking      -2.99 62000019 Debit   APPLE.COM BILL 5818 / 866-712-7753 CA 95014 0006 /
Select Row   3/28/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -44.47 62000019 Debit   7-ELEVEN 32922 5542 / SOUTHLAKE TX 76092 0006 /
Select Row   3/28/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH
                                                           -2,097.59
                                                               DEBIT 62000019 Debit   REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
Select Row   3/28/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH-919.9
                                                               DEBIT 62000019 Debit   REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
Select Row   3/28/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH-750.5
                                                               DEBIT 62000019 Debit   PERFORMANCESSLA / Cust #02460 / PERFORMANCESSLA AR PAYMENT / R
Select Row   3/28/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH DEBIT
                                                                 -71 62000019 Debit   MARSHALL SHREDDI / / MARSHALL SHREDDI SALE / 1339 EASTWOOD /
Select Row   3/25/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH-409.17
                                                               DEBIT 62000019 Debit   AMZN Mktp US*RA 5942 / Amzn.com bill WA 98109 0006 /
Select Row   3/25/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH-50.86
                                                               DEBIT 62000019 Debit   AMZN Mktp US*RA 5942 / Amzn.com bill WA 98109 0006 /
Select Row   3/25/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH-809.66
                                                               DEBIT 62000019 Debit   TIGER SANITATIO 4900 / 210-333-4287 TX 78222 0132 /
Select Row   3/25/24 Cleared   SEG Disbursements
                                         PREAUTHORIZED
                                                 Checking ACH-61.55
                                                               DEBIT 62000019 Debit   7-ELEVEN 27239 5542 / SOUTHLAKE TX 76092 0006 /
Select Row   3/21/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -92.53 62000019 Debit   THE HOME DEPOT 5200 / SEGUIN TX 78155 0006 /
Select Row   3/20/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -27.05 62000019 Debit   Experian* Credi 8999 / 479-3436237 CA 92629 2913 /
Select Row   3/20/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -21.64 62000019 Debit   ADOBE *ADOBE 5734 / 408-536-6000 CA 95110 0006 /
Select Row   3/20/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking    -261.96 62000019 Debit   AMZN Mktp US*RH 5942 / Amzn.com bill WA 98109 0006 /
Select Row   3/20/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking        -55 62000019 Debit   EXXON ICE BOX 8 5542 / KELLER TX 76244 0006 /
Select Row   3/20/24 Cleared   SEG Disbursements
                                         ATM DEBIT
                                                 Checking     -54.02 62000019 Debit   AMZN Mktp U

                                                            -106000                   payroll
                                                         -112906.25                   payroll

                                                          -300189.46
                   Case 24-40605 Doc 120          Filed 05/22/24 Entered 05/22/24 18:20:09    Desc Main
                  RH Seguiin Exhibit E            Document      Page 24 of 33

Date:
Time:
User:

Vendor                                     Code              0-30


A-1 Tri-County Plumbing , Inc              2099              0.00

Ability Network, Inc.                      70             3,002.98   software       5/25/24
Abshire Dietary Consultants                52                0.00

Acadian Ambulance                          199             255.00
                                                                     transport      5/25/24
Advanced Imaging Services, Inc.            2041              0.00

Airgas                                     73                0.00
AirPros                                    677               0.00
Alco Sales & Service Co.                   2257              0.00

Aldinger                                   2033              0.00
AMS Respiratory Services, LLC              1688           2,090.00
                                                                     Consulting     5/25/24
AT&T MOBILITY (Account 877003191)          716               0.00

Auto-Chlor                                 2498           1,474.41   chemicals      5/25/24
Berrett Pest Control                       2476            204.59    Pest svcs      5/25/24
BioMedGas Inc.                             2007              0.00
Biomedical Waste Solutions                 1673              0.00

Blue Cross Blue Shield of Texas            81                0.00

Buckeye Cleaning Services                  2015           1,391.25
                                                                     chemicals      5/25/24
Care One Communications LLC                2360            782.72
                                                                     utility        5/25/24
Carrington Coleman                         2390              0.00
Charter Communications 4141                2368             75.39

City Ambulance Service                     2447              0.00
City of Seguin                             71             9,360.73   utility        5/25/24
Compass Medicare Billing LLC               3292              0.00

Complete ERC                               2455              0.00
Crest Healthcare Supply                    2315              0.00

Curtis Law                                 1576              0.00
Daikin Comfort Technologies Distribution   2352              0.00


Dearborn National                          1985              0.00
Digital Verdict, Inc.                      2509              0.00
Dr. Antonio A. Flores, MD, PA              367               0.00

Elite Discovery, Inc                       1822              0.00
Elizabeth Loeffler                         3353              0.00
Exponent Technologies, Inc.                1254           1,361.28
                                                                     payroll svcs   5/25/24
Fleet Maintenance of Texas                 84                0.00

Guadalupe Regional Medical Center          57             1,183.75
                                                                     lab            5/25/24
IPFS Corporation                           463               0.00
ISOLVED BENEFIT SERVICES BENEFIT SERVICE   2058              0.00


J.W. Dielmann, Inc.                        3098              0.00
Jessica Anderson                           94                0.00
                    Case 24-40605          Doc 120    Filed 05/22/24 Entered 05/22/24 18:20:09   Desc Main
                                                      Document      Page 25 of 33

Kaliber Data Security & Compliance             285                0.00

Landmark Lofts                                 585                0.00
Lone Star Fire & First Aid                     2489            609.74
                                                                         Monitoring   5/25/24
Longhorn Lawn Care                             3291               0.00
Manage Meds, LLC                               855                0.00
Management and Network Services                500                0.00

Marshall Shredding Co.                         2901               0.00
Mary Jane Salazar                              593                0.00
Mas Vida Health Care Solutions                 2515               0.00

Medina Valley Security, Inc.                   2398               0.00

Medline Industries, Inc.                       281                0.00
Miranda M. Williams, LLC                       2269               0.00

Neighborhood Portable X-Ray                    3046           1,195.00
                                                                         Svcs         5/25/24
Netsmart Technologies, Inc.                    2378               0.00

New Benefits Ltd.                              1311            120.00    Ad           5/25/24
New Braunfels Utilities                        584                0.00
New Source Medical                             1718           7,248.56   Rental       5/25/24
Nutritious Lifestyles, Inc.                    3113               0.00

Orkin                                          1983               0.00
Performance Foodservice                        2469           (134.87)

Pharmacy Unlimited                             1995           8,271.74   Pharmacy     5/25/24
PointClick Care Technologies INC               25             2,770.14
                                                                         software     5/25/24
Professional Imaging, LLC                      260                0.00

Progressive Commercial                         2018               0.00

Pye-Barker Fire & Safety, LLC                  2147               0.00

Quatro Tax LLC                                 1511               0.00
Quintairos, Prieto, Wood and Boyer PA          2168               0.00

R&P Backflow and Plumbing                      2546               0.00

Radwell International LLC                      2474               0.00

RingCentral                                    1628               0.00
ShredAmerica Texas LLC                         2295               0.00

Simply Work                                    1388           (257.35)
Southern Cross Ambulance                       66                 0.00

Steckler PLLC                                  2513               0.00
Summit LTC Management                          2943               0.00

Texas Health and Human Services Comm.          1708               0.00


Tiger Sanitation                               2980               0.00
Time Warner Cable - Acct 5277                  644                0.00

Tri County Air Conditoning & Heating LLC       1612               0.00


Turner, Stone & Company LLP                    1712               0.00

US Vents                                       251                0.00
                                                             41,005.06
                                     Case 24-40605           Doc 120       Filed 05/22/24 Entered 05/22/24 18:20:09                     Desc Main
                                                                           Document      Page 26 of 33

Seguin Exhbit F
                                                   Greater than   Greater than   Greater than   Greater than   Greater than   Greater than   Greater than   Greater than   Greater than
             Payer       Total         Current
                                                     30 days        60 days        90 days       120 days       150 days       180 days       210 days       240 days       270 days

Remarkable Healthcare of Seguin
            ATX        $14,398.00         -         $7,512.00          -              -              -              -              -              -              -          $6,886.00
             GR        $48,787.83    $48,478.21         -              -           $309.62           -              -              -              -              -              -
             HM        $13,648.53     $5,924.37     $7,724.16          -              -              -              -              -              -              -              -
            HMG        $98,658.48    $34,633.93    $19,958.18     $24,655.08          -              -              -              -         $10,059.01          -          $9,352.28
             HP         $1,097.39         -         $1,045.00       $52.39            -              -              -              -              -              -              -
             MA       $323,646.44    $93,010.15    $97,894.97     $62,673.34     $23,993.47     $14,979.17      $5,783.75          -         $11,677.28      $8,654.89      $4,979.42
            MAI       $101,148.29    $18,360.00    $25,296.00     $15,912.00      $5,580.26      $2,300.00      $7,800.00      $5,400.00      $800.00            -         $19,700.03
            MAM        $31,525.68     $4,987.00     $5,191.00      $5,139.59      $4,381.05      $6,123.80      $4,858.27          -              -              -           $844.97
            MAP         $3,600.00         -             -              -              -              -              -              -              -              -          $3,600.00
            MBI         $8,820.83     $4,827.03     $1,064.61      $1,142.86       $279.25           -              -           $232.28       $153.34         232.69         $888.77
            MCA       $150,604.81    $46,621.24    $80,474.68     $16,688.71      $1,844.88       $769.91       $3,024.24      $1,181.15          -              -              -
            MCB        $71,306.49    $50,348.88    $10,656.65      $4,724.01      $3,814.82          -           $838.13        $924.00           -              -              -
            MCP         $3,547.84         -             -              -          $1,530.00          -              -          $2,017.84          -              -              -
            MCT        $28,723.95    $16,742.27     $1,620.09       $870.34       $2,245.16       $551.09           -           $231.62           -              -          $6,463.38
            MGA         $2,652.00         -             -          $2,652.00          -              -              -              -              -              -              -
            MGR       $411,187.58    $80,691.85    $94,599.18     $73,592.68     $16,569.70     $17,730.74     $41,334.87     $54,936.70     $15,721.26      $8,041.40      $7,969.20
             MP       $147,654.63    $24,773.57    $25,836.74     $23,314.89     $20,913.88     $11,367.79     $12,294.66       $282.64        $1.91             -         $28,868.55
             MT         $3,582.66     $2,904.86         -              -           $677.80           -              -              -              -              -              -
             PP        $90,767.54    $69,300.00     $4,230.00          -          $2,650.00      $2,300.00      $5,050.00      $7,237.54          -              -              -
            UHC        $15,475.00         -             -              -              -           $455.00           -              -              -              -         $15,020.00
            WLC         $3,447.00         -             -              -              -              -          $3,447.00          -              -              -              -
            WML        $61,179.55         -             -              -              -              -              -              -              -              -         $61,179.55
           TOTAL     $1,635,460.51   $501,603.35   $383,103.26    $231,417.89    $84,789.89     $56,577.50     $84,430.92     $72,443.77     $38,412.80     $16,928.98     $165,752.15
   Case 24-40605    Doc 120      Filed 05/22/24 Entered 05/22/24 18:20:09     Desc Main
                                 Document      Page 27 of 33



Remarkable Healthcare of Seguin                        2024"
Period Based Income Statement

User: Jon McPike
                                                      3/1/2024 to 3/31/2024

Include Adjustment Periods: NO                        Include Closing Periods: NO

                                                      March 24_Actual $
                                                               0
Revenue
 Revenue by Payor
   Private Pay                                             77,024
   Medicare Part A                                        106,899
   Medicaid                                               183,958
   Managed Care                                           117,866
   Medicare Part B                                         21,192
   Other Income                                               155
 TOTAL Revenue by Payor                                   507,095
TOTAL Revenue                                             507,095

Expenses
  Nursing Administration Costs
   Salaries - Director of Nursing                          14,325
   Salaries - Nursing Admin Staff                          14,617
   Salaries - Hazard Pay Nursing Admin                          0
   Recruiting Bonus - Nursing Admin                             0
   Vac/Sick/Holiday - Nursing Admin                             0
   FICA/MC - Nursing Admin                                      0
   FUTA/SUTA - Nursing Admin                                    0
   Employee Benefits - Nursing Admin                          150
   Nursing Supplies - Nursing Admin                             0
   Risk Management - Nursing Admin                              0
   Quality Assurance - Nursing Admin                            0
   Infection Control - Nursing Admin                            0
   Dues/Memberships/Subscriptions - Nursing Admin               0
   Training/Seminar/Conf - Nursing Admin                        0
   Travel - Nursing Admin                                       0
  TOTAL Nursing Administration Costs                       29,091
  Nursing Services
   Salaries - Restorative Aide                                  0
   Salaries - RN                                           16,354
   Salaries - LVN                                          24,444
   Salaries - CNA                                          75,304
   Salaries - Hazard Pay Nursing Svc                            0
   Employee Benefits - Nursing Svc                         10,428
  Case 24-40605   Doc 120   Filed 05/22/24 Entered 05/22/24 18:20:09   Desc Main
                            Document      Page 28 of 33



 Recruting/Advertising/Bonus - Nursing Svc                 0
 FICA/MC - Nursing Svc                                     0
 FUTA/SUTA - Nursing Svc                                   0
 Contract Labor - Nursing Svc                              0
 Floor Stock Drugs and Supplies                        1,282
 Nursing Supplies                                      4,349
 Medical Supplies Non-Chargeable - NSG SVC                 0
 DME Rental - NSG SVC                                  6,016
 Durable Medical Equipment                                 0
 Flu/Pneumonia Vaccine                                     0
 Oxygen and Supplies                                       0
 Risk Management - Nursing Svc                             0
 Incontinent Supplies                                  2,662
 Dietary Supplements                                     165
 Enteral Supplies - NSG SVC                                0
 Minor Equipment - Nursing Svc                           715
 Medical Waste                                            83
 Training/Seminars/Conference - Nursing Svc                0
 Travel - Nursing Svc                                      0
 Forms and Printing                                        0
 Overtime - Nursing Svc                                    0
TOTAL Nursing Services                               141,802
Nursing Services - Medicare A
 Prescription Drugs - MRA                              2,396
 Laboratory - MRA                                      1,184
 Radiology - MRA                                       1,195
 Physical Therapy - MRA                                5,746
 Occupational Therapy - MRA                            4,220
 Speech Therapy - MRA                                    882
 DME Rental - MRA                                      1,233
 IV Therapy - MRA                                          0
 Oxygen - MRA                                          1,045
TOTAL Nursing Services - Medicare A                   17,900
Nursing Services - Medicare B
 Physical Therapy - MRB                                4,455
 Occupational Therapy - MRB                                0
 Speech Therapy - MRB                                      0
TOTAL Nursing Services - Medicare B                    4,455
Nursing Services - Insurance
 Prescription Drugs - INS                              4,302
 Physical Therapy - INS                                  525
 Occupational Therapy - INS                                0
 Speech Therapy - INS                                      0
 IV Therapy - INS                                          0
TOTAL Nursing Services - Insurance                     4,827
Nursing Services - MCD
  Case 24-40605    Doc 120   Filed 05/22/24 Entered 05/22/24 18:20:09   Desc Main
                             Document      Page 29 of 33



  Physical Therapy - MCD                                   0
  Speech Therapy - MCD                                     0
  Occupational Therapy - MCD                               0
  Prescription Drugs - MCD                                 6
TOTAL Nursing Services - MCD                               6
Medical Records
  Salaries - Medical Records                            3,780
  Salaries - Hazard Pay Med Rec                             0
  FICA/MC - Medical Records                                 0
  Employee Benefits - Medical Records                     931
  FUTA/SUTA - Medical Records                               0
  Supplies - Medical Records                                0
  Travel - Medical Records                                  0
  Overtime - Medical Records                                0
TOTAL Medical Records                                   4,711
Food Services
  Salaries - Food Service Supv.                         2,483
  Salaries - Food Service Staff                        15,523
  Salaries - Hazard Pay Dietary                             0
  Recruiting/Advertising/Bonus - Food Service               0
  Employee Benefits - Food Service                         45
  FICA/MC - Food Service                                    0
  FUTA/SUTA - Food Service                                  0
  Contract Services - Food Service                          0
  Utensils & Smallware - Dietary                            0
  Supplies - Food Service                                 678
  Minor Equipment - Food Service                            0
  Equipment Rental - Food Service                         135
  Repairs and Maintenance - Food Service                    0
  Risk Management - Food Service                            0
  Raw Food - Food Service                              15,869
  Forms and Printing - Food Service                         0
  Dues/Membership/Subscr. - Food Service                    0
  Training/Seminar/Conf - Food Service                      0
  Travel - Food Service                                     0
  Overtime - Food Service                                   0
TOTAL Food Services                                    34,733
Housekeeping
  Salaries - Housekeeping                               5,036
  Salaries - Hazard Pay Hsk                                 0
  Employee Benefits - Housekeeping                         10
  Recruiting/Advertising/Bonus - Housekeeping               0
  FICA/MC - Housekeeping                                    0
  FUTA/SUTA - Housekeeping                                  0
  Contract Services - Housekeeping                          0
  Supplies - Housekeeping                               1,145
  Case 24-40605   Doc 120   Filed 05/22/24 Entered 05/22/24 18:20:09   Desc Main
                            Document      Page 30 of 33



  Risk Management - Housekeeping                           0
  Minor Equipment - Housekeeping                           0
  Repairs and Maintenance - Housekeeping                 124
  Overtime - Housekeeping                                  0
  Training/Seminar/Conference - Housekeeping               0
TOTAL Housekeeping                                     6,315
Laundry
  Salaries - Laundry                                   2,576
  Salaries - Hazard Pay Laundry                            0
  Employee Benefits - Laundry                              0
  FICA/MC - Laundry                                        0
  FUTA/SUTA - Laundry                                      0
  Contract Services - Laundry                              0
  Linen and Bedding - Laundry                              0
  Supplies - Laundry                                     470
  Repairs and Mainetenance - Laundry                       0
  Training/Seminars/Conf - Laundry                         0
  Overtime - Laundry                                       0
TOTAL Laundry                                          3,046
Maintenance
  Salaries - Maintenance Supervisor                    3,724
  Salaries - Maintenance Tech                          2,879
  Salaries - Hazard Pay Maint                              0
  Employee Benefits - Maintenance                        800
  FICA/MC - Maintenance                                    0
  FUTA/SUTA - Maintenance                                  0
  Supplies - Maintenance                                 102
  Risk Management - Maintenance                            0
  A/C Service - Maintenance                                0
  Repairs and Maintenance - Maintenance                    0
  Minor Equipment - Maintenance                            0
  Pest Control                                           210
  Contract Services - Maint.                               0
  Utilities - Electric                                 6,616
  Utilities - Water/Sewer                              2,827
  Utilities - Gas                                        930
  Utilities - Cable TV                                     0
  Waste Disposal                                         810
  Storage Unit Rental                                     65
  Fire Alarm Maintenance                                  54
  Landscaping                                            425
  Vehicle Lease/Finance                                    0
  Insurance - Auto                                       645
  Fuel and Vehicle Repairs                               380
  Fuel - Generator                                         0
  Travel - Maintenance                                     0
  Case 24-40605    Doc 120    Filed 05/22/24 Entered 05/22/24 18:20:09   Desc Main
                              Document      Page 31 of 33



  Overtime - Maintenance                                     0
  Training/Seminar/Conference - Maintenance                  0
  Recruiting/Advertising/Bonus - Maintenance                 0
  Depreciation - Maintenance Equipment                       0
TOTAL Maintenance                                       20,466
Activities
  Salaries - Activity Director                           2,280
  Salaries - Acitivities Staff                               0
  Salaries - Hazard Pay Activities                           0
  Employee Benefits - Activities                           800
  FICA/MC - Activities                                       0
  FUTA/SUTA - Activities                                     0
  Supplies - Activities                                     61
  Risk Management - Activities                               0
  Equipment Rental - Activites                               0
  Volunteer Expense - Activities                             0
  Beauty and Barber - Activities                             0
  Pet Therapy Expense - Activities                           0
  Printing Expense - Activities                              0
  Entertainment Expense - Activities                         0
  Dues/Memberships/Subscriptions - Activities                0
  Training/Seminars/Conference - Activities                  0
  Travel - Activities                                        0
  Advertising/Recruiting - Activities                        0
  Contracted Religious Services - Activities                 0
TOTAL Activities                                         3,142
Social Services
  Salaries - Director of Social Services                    0
  Salaries - Social Service Staff                           0
  Overtime - Social Services                                0
  Employee Recruitment - Social Services                    0
  Employee Benefits - Social Services                      10
  FICA/MC - Social Services                                 0
  FUTA/SUTA - Social Services                               0
  Supplies - Social Services                                0
  Dues/Memberships/Subscriptions - Social Services          0
  Training/Seminars/Conference - Social Services            0
TOTAL Social Services                                      10
Purchased Services
  Medical Director                                       2,000
  Pharmacy Consultant                                    1,220
  Medical Records Consultant                                 0
  Registered Music Therapist                                 0
  Registered Dietician                                     542
  Chaplaincy                                                 0
  Legal Consultant                                           0
  Case 24-40605    Doc 120    Filed 05/22/24 Entered 05/22/24 18:20:09   Desc Main
                              Document      Page 32 of 33



 Resident Transportation/Ambulance                         785
TOTAL Purchased Services                                 4,547
General and Administrative
 Salaries - Administrator                                2,884
 Salaries - Admissions Coordinator/Marketing             4,095
 Salaries - Admin Staff                                  7,630
 Salaries - Accounts Payable/Payroll                     1,401
 Salaries - Hazard Pay Admin Staff                           0
 Overtime - G&A                                              0
 Bonus - G&A                                                 0
 Employee Benefits - G&A                                 1,741
 FICA/MC - G&A                                               0
 FUTA/SUTA - G&A                                             0
 Contract Services - G&A                                   886
 Professional Fees - G&A                                 4,000
 Payroll Fees                                            1,894
 Legal Fees                                                  0
 Consulting - Outside Services                               0
 New Hire Expenses                                           0
 Bad Debt Expense                                            0
 Employee Uniforms - G&A                                     0
 Tuition Reimbursement                                       0
 Employee Relations                                         56
 Employee Recruitment - G&A                                  0
 Training/Seminars/Conference - G&A                          0
 Repairs and Maintenance - G&A                               0
 Equipment Rental - G&A                                      0
 Minor Equipment - G&A                                       0
 Telephone Service - G&A                                 2,070
 IT Data Circuits                                          517
 Contract Services - IT                                  5,687
 Public Relations/Marketing/Advertising                      0
 Dues/Memberships/Subscriptions - G&A                        0
 Postage and Freight                                         0
 Forms and Office Supplies - G&A                             0
 Printing - G&A                                              0
 Business Meals - G&A                                        0
 Travel - G&A                                              157
 Insurance - Workers Comp                                    0
 Insurance - Property and Liability                      1,165
 Parking and Tolls - G&A                                    75
 Interest Expense                                            0
 Mileage - G&A                                               0
 Taxes and Licenses - G&A                                    0
 Depreciation Equipment - G&A                                0
 Miscellaneous Expense - G&A                                 0
    Case 24-40605     Doc 120    Filed 05/22/24 Entered 05/22/24 18:20:09   Desc Main
                                 Document      Page 33 of 33



   Penalties and Late Fees                                      0
   Lost Property Replacement Costs                              0
   Charitable Contributions - G&A                               0
   Printers Cartridges/Ink-G&A                                  0
 TOTAL General and Administrative                          34,259
 Facility Expenses
   Management Fee                                          25355
   Facility Lease/Rent                                     82,988
   Property Taxes                                           9,041
   Facility Depreciation Expense                                0
   Asset Management Fees                                        0
   Penalties and Late Fees - Facility                           0
   Storm Damage Expense                                         0
   Facility Insurance - FAC                                 8,962
 TOTAL Facility Expenses                                  126,346
TOTAL Expenses                                            435,655
Net Income/Loss                                            71,441

Add Back:
Interest                                                        0
Covid Hazard Pay                                                0
Depreciation & Amortization                                     0
EBITDA                                                     71,441
